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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                      Charleston Division


JULIA TYSON,

          Plaintiff,

v.                                                      CIVIL ACTION NO. 2:19-cv-00813
                                                        Honorable Judge Irene C. Berger

UNION CARBIDE CORPORATION,
a subsidiary of THE DOW CHEMICAL
COMPANY, and THE DOW CHEMICAL
COMPANY,

          Defendants.

                                    FINAL DISMISSAL ORDER

          COME NOW the parties hereto, jointly and by their respective counsel, and hereby announce

to the Court that the above-styled action has been compromised, settled and agreed. Whereupon

motion was made that the Court dismiss such civil action pursuant to Rule 41 of the Federal Rules of

Civil Procedure, with prejudice to all parties.

          The Court hearing no objection to the dismissal of said action, is of the opinion to and does

hereby ORDER said civil action be dismissed WITH PREJUDICE to all parties. The Court does

further ORDER that the above-styled action be stricken from the docket of this Court.

          The Clerk of the Court is directed for forward certified copies of this Order to counsel of

record.
                                    March
          ENTERED this 31st day of ___________, 2021.


                                         __________________________________________
                                         Honorable Judge Irene C. Berger




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Jointly and Respectfully Submitted By:


/s/Tonya P. Shuler                          /s/Tammy Bowles Raines
Patricia M. Bello (WV Bar #11500)           Tammy Bowles Raines (WV Bar #9708)
Tonya P. Shuler (WV Bar #9699)              Tammy Bowles Raines Law Office, PLLC
LEWIS BRISBOIS BISGAARD & SMITH             227 Capitol Street, Suite 201
LLP                                         Charleston, WV 25301
707 Virginia Street, E., Suite 1400         (304) 395-5925
Charleston, West Virginia 25301             tbraineslaw@gmail.com
(304) 553-0166                              Counsel for Plaintiff
Patricia.bello@lewisbrisbois.com
Tonya.shuler@lewisbrisbois.com
Counsel for Union Carbide Corporation

s/Floyd E. Boone, Jr.
Floyd E. Boone, Jr., Esq. (WV Bar # 8784)
Bowles Rice LLP
600 Quarrier Street
Charleston, WV 25301
fboone@bowlesrice.com
and

Edward J. Bardelli, Esq. (pro hac vice)
Warner Norcross + Judd LLP
1500 Warner Building
150 Ottawa Ave., NW
Grand Rapids, MI 49503
ebardelli@wnj.com

Counsel for The Dow Chemical Company




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